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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------- ----- - x

UNITED STATES OF AMERICA

          -v.-                                      SEALED INDICTMENT

ISHAN WAHI ,                                        22 Cr .
NIKHIL WAHI , and
SAMEER RAMAN I ,

               Defendants .
-------------------------------- - ------ x
                                             2 2 CRIM 3 92                .


                                COUNT ONE
                    (Conspiracy to Commit Wire Fraud)

     The Grand Jury charges :

                        Overview of the Charges

     1.    From at least in or about June of 2021 through in or

about April of 2022 ,   ISHAN WAHI , NIKHIL WAHI , and SAMEER RAMANI ,

the defendants , generated more than a million dollars in illegal

trading profits through their participation in a scheme to

engage in insider trading in crypto assets that were listed or

were under considerat i on for listing on Coinbase Global ,       Inc .

( "Coinb ase" ) , a major online cryptocurrency exchange platform .

As part of the insider trading scheme , ISHAN WAHI violated his

duties of trust and confidence to Coinbase by providing

confidential business information that he learned in connection

with his employment at Coinbase to NIKHIL WAHI and SAMEER RAMANI

so that they could secretly engage in profitable trades around
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public announcements by Coinbase that it would be listing

certain crypto assets on Coinbase ' s exchanges .

     2.      ISHAN WAHI , the defendant , was a Coinbase employee

involved in the highly confidential process of listing crypto

assets on Coinbase ' s exchanges .      As a result , ISHAN WAHI had

detailed and advanced knowledge of which crypto assets Coinbase

was planning to list and the timing of public announcements

about those listings .      Because the market value of crypto assets

typically significantly increased after Coinbase announced that

it would be listing a particular asset on its exchanges ,

Coinbase kept the information strictly confidential and

prohibited its employees from sharing that information .            In

violation of these policies and his duties of trust and

confidence to Coinbase , ISHAN WAHI misappropriated that

confidential business information to tip his brother , NIKHIL

WAHI , the defendant , and ISHAN WAHI ' s friend and associate ,

SAMEER RAMANI , the defendant , so that they could use that

confidential information to make well - timed purchases of crypto

assets in advance of Coinbase ' s listing announcements.

     3.      After Coinbase ' s listing decisions became public , and

after the crypto assets appreciated due to that announcement ,

NIKHIL WAHI and SAMEER RAMANI , the defendants , caused the sale

of those crypto assets for substantial profits .           In total ,


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during the course of the scheme , NIKHIL WAHI and RAMANI

collectively caused purchases of at least 25 crypto assets in

advance of at least 14 separate Coinbase crypto asset listing

announcements.      As a result of the insider trading scheme ,

NIKHIL WAHI and RAMANI collectively generated realized and

unrealized gains totaling at least approximately $1 . 5 million.

     4.      The defendants also took numerous steps to evade

detection from law enforcement.            Throughout their illegal

trading , NIKHIL WAHI and SAMEER RAMANI , the defendants ,

attempted to conceal their trading by transferring their crypto

assets through a web of crypto accounts and anonymous Ethereum

blockchain wallets , including through accounts held in others '

names.    In or about May 2022 , as the illegal insider trading

scheme came to light , ISHAN WAHI , the defendant , purchased a

one-way airline ticket to a foreign country in an unsuccessful

attempt to flee from the United States .

                                 Background

     5.      At all times relevant to this Indictment, Coinbase was

one of the largest cryptocurrency exchanges in the world .

Coinbase allowed users to acquire , exchange , and sell various

crypto assets in online user accounts .           In order to transact in

a particular crypto asset on Coinbase , that crypto asset must be

listed on Coinbase ' s exchanges.


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     6.      During the time period relevant to this Indictment ,

Coinbase frequently announced that particular crypto assets

would be listed on one of its exchanges or were under

consideration for listing.        Coinbase often made these

announcements on Coinbase ' s publicly available blog or Twitter

account .    It was well known that after Coinbase announced that

it was going to be listing or was conside r ing listing a

particular crypto asset , the market value of that crypto asset

typically rose substantially .

     7.      Because Coinbase viewed its reputation as a fair forum

of exchange as essential to its business success , Coinbase took

steps to guard the confidentiality of information regarding

prospective asset listings and to ensure that potential traders

did not learn of prospective listings before the company

announced them formally to the general public . The company ' s

policies and agreements thus prohibited employees from using

confidential information about asset listings , including which

crypto assets it intended to list on its exchanges , except for

the benefit of Coinbase . Indeed , Coinbase ' s policies made clear

that employees "helping to implement support of [a] new asset "

were prohibited from " buy[ing] the new asset " in advance of an

announcement .     Coinbase ' s written policies also prohibited

employees from disclosing the confidential information to any


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person outside of Coinbase , including "family or friends ," and

expressly barred employees from providing a " tip" to any person

who might make a trading decision based on the informati on.

     8.      Beginning in or about October 2020 , ISHAN WAHI , the

defendant , was emp lo yed by Coinbase as a product manager

assigned to an asset listing team .        Pursuant to the policies

described above , and by virtue of his employment more generally ,

ISHAN WAHI was prohibited from sharing confidential business

information about Coinbase ' s asset listings with others and from

using that information other than for the benefit of his

employer.     Moreover , as a member of Coinbase ' s asset listing

team , ISHAN WAHI was subject to an "enhanced trading policy "

that , among other things , required him to report his digital

asset holdings and seek preclearance for any digital asset

trades conducted by ISHAN WAHI outside of Coinbase ' s platform .

During the course o f his employment at Coinbase , ISHAN WAHI

provided Co inbase with a written certification that he had read

the company ' s trading and confidentiality policies , that he

understood them , and that he would comply with them .

     9.      As a product manager on one of Coinbase ' s asset

listing teams , ISHAN WAHI , the defendant, frequently had

advanced knowledge of which crypto assets Coinbase planned to

announce it was listing or considering listing , and had advanced


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knowledge of the timing of those announcements.          Indeed ,

beginning at least in or about August 2021 and continuing until

at least in or about May 2022 , ISHAN WAHI was a member of a

private messaging channel reserved for a small number of

Coinbase employees with direct involvement in the Coinbase asset

listing process .   Upon joining the channel , ISHAN WAHI was

informed by another Coinbase employee that its purpose was to

provide a " safe place to discuss details around asset launches"

such as "exact announcement/ launch dates+ timelines " that the

company did not wish to share with all of its employees .

     10 .   ISHAN WAHI , the defendant , knew that the asset listing

information discussed within the messaging channel was highly

confidential or "need to know" and not to be shared outside what

ISHAN WAHI himself referred to as the "tighter circle " of

Coinbase employees involved in the asset listing .         ISHAN WAHI

also knew that due to the highly confidential nature of asset

listing information , he and other Coinbase employees with access

to the information we re prohibited from trading in assets under

consideration for listing on Coinbase and tipping others so that

they could trade on that information , no matter the forum in

which the trading took place .

     11 .   In connection with the scheme , ISHAN WAHI , the

defendant , sought to deceive Coinbase and his fellow employees


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by assuring them - through , among other means , Coinbase ' s

private asset listing messaging channe l       (including interstate

wire communications sent from ISHAN WAHI to a fellow Coinbase

employee located in Ma n hattan , New York) - that he was

maintaining the confidential i ty of this information .        In truth

and in fact , however , ISHAN WAHI repeatedly breached his duty of

conf i dentiality to Coinbase by misappropriating Coinbase ' s

confident i al information and providing i t to his brother , NIKH I L

WAHI , the defendant , and ISHAN WAHI ' s friend and associate ,

SAMEER RAMANI , the defendant , so that they could make profitable

trades on the basis of that confidential information .

                      The Insider Trading Scheme

     12 .   On numerous occasions beginning at least in or about

June 2021 and continuing through in or about April 2022 , ISHAN

WAHI , the defendant , knew in advance both that Coinbase planned

to list particular crypto assets and when Coinbase intended to

make its public announcements of those asset listings , and

misappropriated this Co i nbase co n fidential information by

providing i t to either NIKHIL WAHI or SAMEER RAMANI , the

defendants , so that they could place profitable trades i n

advance of Coinbase ' s public listing announcements .       Upon

learning Co i nbase ' s confidential listing plans , NI KHIL WAHI and

SAMEER RAMAN I used anonymous Ethereum blockchain wallets to


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acquire certain crypto assets shortly before Coinbase publicly

announced that it was listing or considering listing those same

assets on its exchanges .

      13 .    Based on conf idential information provided by ISHAN

WAHI , the defendant , NIKHIL WAHI and SAMEER RAMANI, the

defendants , collectively traded shortly in advance of at least

14 separate Coinbase public listing announcements concerning at

least 25 different crypto assets, and then , in most instances ,

subsequently sold the crypto assets they had acquired for a

profit .     These trades collectively led to realized and

unrealized gains totaling at least approximately $1.5 million .

For example :

                          Insider Trading in TRIBE

              a.    In or about August 2021 , as a result of his

employment at Coinbase , ISHAN WAHI learned of Coinbase ' s

intention to publicly announce that it was listing the crypto

asset TRIBE on its exchanges .         Because ISHAN WAHI was among a

small group of Coinbase employees privy to Coinbase 's

confidential listing plans , he had access to detailed and

specific information regarding when Coinbase ' s public

announcement that it was listing TRIBE would occur .             In breach

of his duty of confidentiality to Coinbase , ISHAN WAHI tipped

his brother , NIKHIL WAHI , about Coinbase ' s plan to list TRIBE .


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              b.    With advance knowledge of Coinbase's listing

plans , on or about August 10 , 2021, NIKHIL WAHI caused an

anonymous Ethereum blockchain wallet - which has since been

linked to NIKHIL WAHI through internet protocol ("IP") address

records and blockchain analysis - to purchase approximately

$60 , 000 worth of TRIBE tokens.        NIKHIL WAHI caused these

purchases to be made in an anonymous Ethereum blockchain wallet

mere minutes before Coinbase publicly announced that it would be

listing TRIBE on its exchanges on August 10, 2021 .            Following

that announcement , the value of TRIBE increased substantially.

The following day , NIKHIL WAHI , through multiple transactions,

exchanged all of the TRIBE tokens for crypto stablecoins (each

equivalent in value to 1 United States dollar) worth

approximately $67,000, resulting in a profit of approximately

$7,000 .

                           Insider Trading in XYO

              c.    In or about August 2021, as a result of his

employment at Coinbase , ISHAN WAHI learned of Coinbase ' s

intention to publicly announce that it was listing the crypto

asset XYO on its exchanges .        Because ISHAN WAHI was among a

small group of Coinbase employees privy to Coinbase ' s

confidential listing plans , he had access to detailed and

specific information regarding when Coinbase ' s public


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announcement that it was listing XYO would occur .          In breach of

his duty of confidentiality to Co i nbase , ISHAN WAHI tipped his

friend and associate , RAMANI , about Co i nbase ' s plan to list XYO .

           d.     With advance knowledge of Coinbase ' s listing

plans , between on or about August 31 , 2021 and on or about

September 8 , 2021 , RAMANI caused a network of approximately 15

separate anonymous Ethereum blockchain wallets - wh i ch have

since been linked to RAMANI through either IP address records or

blockchain ana l ysis - to purchase approximate l y $610 , 000 worth

of XYO tokens .    Fol l owing the September 8 , 2021 Co i nbase l i st i ng

announcement , the value of XYO increased substantially .          SAMEER

RAMANI then caused the XYO tokens that he had acquired to be

transferred to accounts he l d at a centralized exchange subject

to his contro l. At the time of those transfers the assets had

risen in value to be i ng worth approximately $1 . 5 million , and

RAMANI had reaped ga i ns of nearly $900 , 000 .

            Insider Trading in ALCX, GALA, ENS , and POWR

           e.     In or around November 2021 , as a result of his

employment at Coinbase , ISHAN WAHI lear n ed of Coinbase ' s

intention to publicly announce that i t was listing the crypto

assets ALCX , GALA , ENS , and POWR on its exchanges .       Because

ISHAN WAHI was among a small group of Coinbase employees privy

to Coinbase ' s confidential listing plans , he had access to


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detailed and specific information regarding when Coinbase ' s

public announcement that it was listing ALCX , GALA, ENS , and

POWR would occur .     In breach of his duty of confidentiality to

Coinbase , ISHAN WAHI tipped his brother , NIKHIL WAHI , about

Coinbase ' s plan to list ALCX , GALA , ENS , and POWR.

              f.   With advance knowledge of Coinbase ' s listing

plans , on or about November 15 , 2021 , NIKHIL WAHI caused

anonymous Ethereum blockchain wallets - which have since been

linked to NIKHIL WAHI through IP address records and blockchain

analysis - to purchase approximately $134 , 000 worth of ALCX ,

GALA , ENS , and POWR tokens .     NIKHIL WAHI caused certain of these

purchases to be made in an anonymous Ethereum blockchain wallet

mere minutes before Coinbase publicly announced that it would be

listing ALCX, GALA , ENS , and POWR on its exchanges on November

15 , 2021 .    Following that November 15 , 2021 announcement , the

value of certain of the tokens that NIKHIL WAHI had acquired

increased substantially .      NIKHIL WAHI then exchanged certain of

the crypto tokens that he had acquired for stablecoins and

transferred the remainder of the tokens and the stablecoin

proceeds to accounts subject to his control .          NIKHIL WAHI ' s

trading collectively resulted in profits of approximately

$13 , 000 .




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       Insider Trading Ahead of the April 2022 Announcement

           g.   In or around April 2022 , as a result of his

employment at Coinbase , ISHAN WAHI learned of Coinbase ' s

intention to publicly announce that it was considering

potentially listing dozens of crypto assets on its exchanges .

Because ISHAN WAHI was among a small group of Coinbase employees

privy to Coinbase ' s confidential lis t ing plans , he had access to

detailed and specific information regarding when Coinbase's

public announcement that it was considering listing these

various crypto tokens would occur .      In breach of his duty of

confidentiality to Coinbase , ISHAN WAHI tipped his friend and

associate , RAMANI , about Coinbase ' s plan to announce that

certain crypto assets were under consideration for listing on

Coinbase ' s exchanges.

           h.   With advanced knowledge of Coinbase ' s listing

plans , RAMANI caused multiple anonymous Ethereum blockchain

wallets- which have since been linked to RAMANI through IP

address records and blockchain analysis - to purchase large

quantities of at least six of the crypto assets that were to be

included in Coinbase ' s April 11 , 2022 listing announcement .

RAMANI spent at least approximately $370 , 000 to acquire these

crypto assets in advance o f the April 11 , 2022 announcement .

Following Coinbase ' s Apr i l 11 , 2022 public announcement


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regarding the crypto assets that were under consideration for

listing , the crypto assets purchased by RAMANI quickly

thereafter appreciated by over at l east over $195 , 000 .

     14 .   To conceal their purchases of crypto assets in advance

of Coinbase ' s listing announcements , NIKHIL WAHI and SAMEER

RAMANI , the defendants , used accounts at centralized exchanges

held in the names of others , and transferred funds , crypto

assets , and proceeds of their scheme through multiple anonymous

Ethereum blockchain wal l ets .   NIKHIL WAHI and RAMANI also

regularly created and used new Ethereum blockchain wallets

without any prior transaction history in order to further

conceal their involvement in the scheme .

            ISHAN WAHI ' s Attempt to Flee the United States

     15.    Shortly after SAMEER RAMANI , the defendant , traded in

advance of Coinbase ' s listing announcement on April 11 , 2022 , on

or about April 12 , 2022 , a Twitter account that is well known in

the crypto commun i ty , with hundreds of thousands of followers ,

tweeted that it had identified an Ethereum blockchain wallet

" that bought hundreds of thousands of dollars of tokens

exclusively featured in the Coinbase Asset Listing post about 24

hours before it was publ i shed ." The trading activity referenced

in the April 12 , 2022 tweet was the trading caused by RAMANI on

or about April 11 , 2022 .   On April 13 , 2022 , Coinbase ' s Chief


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Security Officer publicly replied on Twitter to the April 12 ,

2022 tweet , and stated that Coinbase had already begun

investigating the matter .

      16 .    On or about April 28 , 2022 , Coinbase ' s Chief Executive

Officer posted on the company ' s publicly accessible blog that

the company was investigating whether " someone inside Coinbase"

leaked the company ' s confidential information " to outsiders

engaging in illegal activity ," and that any Coinbase employee

who engaged in such activity would be "immediately terminated

and referred to relevant authorities (potentially for criminal

prosecution) ."

      17 .    Less than two weeks later , on May 11 , 2022 , and in

connection with Coinbase ' s investigation of leaked confidential

information , the company ' s director of security operations

emailed ISHAN WAHI , the defendant , to inform him that he should

appear for an in - person meeting relating to Coinbase ' s asset

listing process at Coinbase ' s Seattle , Washington office on May

16 , 2022 .    ISHAN WAHI confirmed he would attend the meeting .

      18.     After learning that he was going to be interviewed as

part of Coinbase ' s investigation , ISHAN WAHI , the defendant ,

attempted leave the United States and flee to India .

Specifically , on the evening of Sunday , May 15 , 2022 , the night

before his meeting with Coinbase was scheduled to occur , ISHAN


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WAHI purchased a one-way ticket for a flight to New Delhi, India

that was scheduled to depart approximately 11 hours later ,

shortly before he was supposed to be interviewed by Coinbase .

Prior to boarding the flight , ISHAN WAHI falsely told Coinbase

employees with whom he worked that he already had departed for

India , when in truth and in fact he had not , claiming that he

was "out indefinitely" and that his departure was due to a

medical emergency involving his father.        Approximately thirty-

five minutes before his scheduled departure time , ISHAN WAHI

wrote to Coinbase's director of security operations that he "had

to fly back home" but that the meeting could be rescheduled to

occur later in the week or early the next week.

     19 .   In the hours between booking the one-way flight to

India and his scheduled departure time on May 16 , 2022, ISHAN

WAHI , the defendant , called and texted NIKHIL WAHI and SAMEER

RAMANI, the defendants , about Coinbase ' s investigation, and sent

both of them a photograph of the messages he had received on May

11 , 2022 from Coinbase ' s director of security operations .

     20.    Prior to boarding his May 16 , 2022, flight to India ,

ISHAN WAHI , the defendant , was stopped by law enforcement agents

and prevented from leaving the country .       Despite his claims to

Coinbase ' s director of security operations that he could

reschedule his meeting for later that week or early the next


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week , ISHAN WAHI was traveling on a one - way ticket to India with

an extensive array of belongings , including , among other items ,

three large suitcases , seven electronic devices, two passports ,

multiple other forms of identification , hundreds of dollars in

U.S . currency, financial documents , and other personal effects

and items .

                          Statutory Allegations

     21 .     From at least in or about July 2021 , up to and

including in or about May 2022 , in the Southern District of New

York , and elsewhere , ISHAN WAHI and NIKHIL WAHI , the defendants,

and others known and unknown , willfully and knowingly , did

combine , conspire , confederate , and agree together and with each

other to commit wire fraud , in violation of Title 18 , United

States Code , Sections 1343 .

     22 .     It was a part and object of the conspiracy that ISHAN

WAHI and NIKHIL WAHI , the defendants , and others known and

unknown , knowingly having devised and intending to devise a

scheme and artifice to defraud and for obtaining money and

property by means of false and fraudulent pretenses ,

representations , and promises , would and did transmit and cause

to be transmitted by means of wire and radio communication in

interstate and foreign commerce, writings , signs , signals ,

pictures , and sounds for the purpose of executing such scheme


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and artifice , in violation of Title 18 , United States Code ,

Section 1343 .

           (Title 18 , United States Code , Section 1349.)

                              COUNT TWO
                  (Conspiracy to Commit Wire Fraud)

     The Grand Jury further charges:

     23.   The allegations contained in paragraphs 1 through 20

of this Indictment are hereby repeated , re - alleged , and

incorporated by reference as if fully set forth herein .

     24.   From at least in or about June 2021 , up to and

including in or about May 2022, in the Southern District of New

York , and elsewhere , ISHAN WAHI and SAMEER RAMANI , the

defendants , and others known and unknown , willfully and

knowingly , did combine , conspire , confederate , and agree

together and with each other to commit wire fraud , in violation

of Title 18 , United States Code , Sections 1343 .

     25.   It was a part and object of the conspiracy that ISHAN

WAHI and SAMEER RAMANI , the defendants , and others known and

unknown , knowingly having devised and i ntending to devise a

scheme and artifice to defraud and for obtaining money and

property by means of false and fraudulent pretenses ,

representations, and promises , would and did transmit and cause

to be transmitted by means of wire and radio communication in

interstate and foreign commerce , writings, signs , signals ,
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pictures , and sounds for the purpose of executing such scheme

and artifice , in violation of Title 18 , United States Code ,

Section 1343 .

            (Title 18 , United States Code , Section 1349 . )

                              COUNT THREE
                              (Wire Fraud)

     The Grand Jury further charges:

     26 .   The allegations contained in paragraphs 1 through 20

of this Indictment are hereby repeated , re - alleged , and

incorporated by reference as if fully set forth herein.

     27.    From at least in or about July 2021 up to and

including at least in or about May 2022 , in the Southern

District of New York and elsewhere , ISHAN WAHI and NIKHIL WAHI ,

the defendants , knowingly having devised and intending to devise

a scheme and artifice to defraud, and for obtaining money and

property by means of false and fraudulent pretenses ,

representations, and promises, transmitted and caused to be

transmitted by means of wire and radio communication in

interstate and foreign commerce, writings , signs , signals,

pictures , and sounds , for the purpose of executing such scheme

and artifice , to wit , ISHAN WAHI and NIKHIL WAHI participated in

a scheme to deprive Coinbase of its exclusive use of

confidential business information related to Coinbase ' s plans to

list certain crypto assets on its exchanges by converting that
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information to their own use and relying on it to engage in

profitable trades in crypto assets , in breach of ISHAN WAHI ' s

duties of trust and confidence to Coinbase .

        (Title 18 , United States Code , Section 1343 and 2 . )

                               COUNT FOUR
                              (Wire Fraud)

     The Grand Jury further charges :

     28 .   The allegations contained in paragraphs 1 through 20

of this Indictment are hereby repeated, re-alleged , and

incorporated by reference as if fully set forth herein .

     29.    From at least in or about June 2021 up to and

including at least in or about May 2022 , in the Southern

District of New York and elsewhere, ISHAN WAHI and SAMEER

RAMANI , the defendants , knowingly having devised and intending

to devise a scheme and artifice to defraud , and for obtaining

money and property by means of false and fraudulent pretenses ,

representations , and promises, transmitted and caused to be

transmitted by means of wire and radio communication in

interstate and foreign commerce , writings , signs , signals ,

pictures, and sounds , for the purpose of executing such scheme

and artifice , to wit , ISHAN WAHI and SAMEER RAMANI participated

in a scheme to deprive Coinbase of its exclusive use of

confidential business information related to Coinbase's plans to

list certain crypto assets on its exchanges by converting that
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information to their own use and relying on it to engage in

profitable trades in crypto assets, in breach of ISHAN WAHI's

duties of trust and confidence to Coinbase.

        (Ti tle 18, United States Code, Section 1343 and 2.)

                        FORFEITURE ALLEGATION

     30 .   As a result of committing one or more of the offenses

alleged in Counts One through Four of this Indictment, ISHAN

WAHI, NIKHIL WAHI, and SAMEER RAMANI, the defendants, shall

forfeit to the United States, pursuant to Title 18, United

States Code , Section 981 (a) (1) (C) and Title 28 United States

Code , Section 246l(c) , any and all property, real and personal,

that constitutes or is derived from proceeds traceable to the

commission of said offenses , including but not limited to a sum

of money in United States currency representing the amount of

proceeds traceable to the commission of said offenses.

                     Substitute Assets Provision

     31 .   If any of the above-described forfeitable property, as

a result of any act or omission of ISHAN WAHI, NIKHIL WAHI, and

SAMEER RAMANI, the defendants:

     (a) cannot be located upon the exercise of due diligence;

     (b) has been transferred or sold to, or deposited with, a

     third person;

     (c) has been placed beyond the jurisdiction of the Court ;


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     (d) has been substantially diminished in value ; or

     (e) has been commingled with other property which cannot be

     subdivided without difficulty,

it is the intent of the United States , pursuant to Title 21 ,

United States Code , Section 853(p), and Title 28 , United States

Code , Section 2461 , to seek forfeiture of any other property of

the defendants up to the value of the above forfeitable

property.

             (Title 18, United States Code , Sections 981;
            Title 21 , United States Code, Section 853 ; and
             Title 28, United States Code , Section 2461 . )




                                         DAMIAN WILLIAMS
                                         United States Attorney




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                    Form No. USA-33s - 274            (Ed. 9-25 - 58)


                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK


                             UNITED STATES OF AMERICA

                                                 v.

                                      ISHAN WAHI,
                                   NIKHIL WAHI, and
                                     SAMEER RAMANI

                                                         Defendants.




                                  SEALED INDICTMENT

                                           22 Cr .

                       (18    u. s . c .    §§   1343 , 1349,   &   2)



                                                     DAMIAN WILLIAMS
                                             United States Attorney .

                                       A TRUE BILL


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                                  ~~5P:s:Foreperson.
                                           ~_, -


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